559 F.2d 1204
    95 L.R.R.M. (BNA) 3011, 82 Lab.Cas.  P 10,011
    N. L. R. B.v.Associated Musicians of Greater New York, Local 802,American Federation of Musicians, AFL-CIO
    No. 77-4021
    United States Court of Appeals, Second Circuit
    5/25/77
    
      1
      N.L.R.B.
    
    
      2
      ENFORCEMENT GRANTED*
    
    
      
        *
         Oral opinion delivered in open court in the belief that no jurisprudential purpose would be served by a written opinion.  An oral opinion or a summary order is not citable as precedent.  Local Rule Sec. 0.23
      
    
    